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                   EXHIBIT 4
Case 4:22-cv-11009-FKB-DRG ECF No. 157-5, PageID.4960 Filed 06/20/25 Page 2 of 3




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN



    ESTATE OF GEORGE BERNARD             |
    WORRELL, JR.,                        |
                                         |     Case No. 4:22 cv 11009
                                         |
                Plaintiff,               |     Hon. Shalina D. Kumar
                                         |     Hon. Mag. David R. Grand
    v.                                   |
                                         |
    THANG, INC., GEORGE CLINTON,         |
    SONY MUSIC ENTERTAINMENT,            |
    UNIVERSAL MUSIC GROUP,               |
    WARNER BROTHERS RECORDS,             |
    HDH RECORDS,                         |
    WESTBOUND RECORDS,                   |
    AND SOUNDEXCHANGE, INC.              |
                                         |
                Defendants.              |




                             EXPERT WITNESS REPORT OF

                                    BOB KOHN



                                 NOVEMBER 15, 2024




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            x    Portions of the depositions in taken in this case, including Mr. Clinton and Ms.
                 Worrell, and exhibits thereto.
            x    Responses to discovery requests.
            x    Kohn On Music Licensing, 5th Edition (Wolters Kluwer, 2019)
            x    Kohn On Music Licensing, 4th Edition (Wolters Kluwer, 2010)
            x    Kohn On Music Licensing, 3rd Edition (Wolters Kluwer, 2002)
            x    Kohn On Music Licensing, 2nd Edition (Aspen Law & Business, 1996)
            x    Kohn On Music Licensing, 1st Edition (“The Art of Music Licensing”) (Prentice
                 Hall Law & Business, 1992)
            x    Other documents produced in this action, as well as and other data or
                 information cited or referred to in the body of this report.

                                     XI. EXPERT WITNESS FEE

        122.        My fees for services rendered as an expert witness in this case are $875.00

    per hour, except that the hour rate for deposition and trial testimony is $975.00 per hour.


                    XII. INTENDED TRIAL EXHIBITS AND SUPPLEMENTATION


        123.        At trial, I reserve the right to use all materials considered in preparing this

    report, including without limitation the materials set forth in the foregoing sections. I

    understand that additional reports and depositions of experts and other witnesses may be

    conducted in this matter. I plan on reviewing their deposition transcripts when they become

    available and reserve the right to supplement or amend this report after such review.

    Finally, I reserve the right to supplement or modify this report and the opinions expressed

    based upon additional facts, documents, or other materials that may be brought to my

    attention.




                                                 -53-
